                                                                            DISTRICT OF OREGON
                                                                                 FILED
                                                                               January 24, 2019
                                                                          Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                          _______________________________________
                                                                    PETER C. McKITTRICK
                                                                    U.S. Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF OREGON

In re                                            Case No. 16-33185-pcm7

Peter Szanto,

Debtor.

United States Trustee,                           Adversary No. 18-03022-pcm

Plaintiff,
                                                 ORDER EXTENDING TIME TO
  v.                                             COMPLY WITH DISCOVERY
                                                 DEADLINE
Peter Szanto,

Defendant.



        Based on the United States Trustee’s Ex Parte Motion for Extension of Time to Comply

With Discovery Deadline filed on January 17, 2019, now, therefore,

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                     Case 18-03022-pcm        Doc 172    Filed 01/24/19
       IT IS HEREBY ORDERED that the deadline for the United States Trustee to produce

certain documents to the defendant herein, and a privilege log, as set forth in the Court’s letter

ruling dated January 10, 2019, entered as docket no. 167 and the Order dated January 1, 2019,

entered as docket no. 168, shall be 14 days from the first business day following the end of the

current partial government shutdown.



                                                ###                      10    PCM




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